











NO. 07-08-0360-CV

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL B

MAY 13, 2009
______________________________

GRACE ELAINE HERRING, INDIVIDUALLY AND AS
INDEPENDENT EXECUTRIX OF THE ESTATE OF
JIMMY JOE HERRING, DECEASED, AND GRACE ELAINE HERRING,
SHARLA PARKER, AND STEPHANIE CAVAZOS, INDIVIDUALLY AND AS 
LEGAL HEIRS AND REPRESENTATIVES OF THE ESTATE OF
JIMMY JOE HERRING, DECEASED, APPELLANTS

V.

EDDIE O. HAYDON D/B/A HAYDON FARMS, APPELLEE
_________________________________

FROM THE 242ND DISTRICT COURT OF CASTRO COUNTY;

NO. B8703-0707; HONORABLE ED SELF, JUDGE
_______________________________


Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Grace Elaine Herring, individually and as independent executrix of the
estate of Jimmy Joe Herring; and Sharla Parker and Stephanie Cavazos, individually and
as legal heirs and representatives of the estate of Jimmy Joe Herring (collectively,
“Herring”), appeal the granting of a no-evidence summary judgment in favor of appellee,
Eddie O. Haydon d/b/a Haydon Farms (Haydon).  We affirm the trial court’s judgment.
&nbsp;
Factual and Procedural Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On or about November 16, 2005, the decedent, Jimmy Joe Herring (decedent) was
employed by Haydon in connection with Haydon’s farming operations.  On the date in
question, the decedent was operating a cotton module builder when he fell while
descending a ladder on the side of the module builder.  After the fall, decedent was taken
to his home and, approximately one week later, he died. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Herring sued Haydon for wrongful death as well as vicarious liability and negligent
hiring, retention, and supervision of his employees.  Herring alleged that the lighting was
inadequate in and around the module builder and that Haydon knew that Herring was not
able to safely use the module builder ladder due to his poor health.  Herring further alleged
that Haydon was negligent for failing to provide a reasonably safe work place, failing to
provide proper and safe equipment, failing to obtain medical assistance, and failing to take
decedent to the hospital after the incident. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Haydon filed a traditional and no-evidence motion for summary judgment.  Haydon’s
no-evidence motion for summary judgment alleged that there was no evidence that the
ladder at issue was in any way defective and, further, that there was no evidence that the
alleged lack of lighting was a proximate cause of decedent’s injuries.  Haydon further
alleged that there was no evidence that the lack of emergency medical attention was a
proximate cause of the death of decedent.  Haydon also alleged that there was no
evidence that Herring’s medical condition caused the fall.  As to the negligent hiring claim,
Haydon’s motion for summary judgment alleges that Herring can produce no evidence that
the employees hired by Haydon were incompetent or unfit.  After Herring’s response was
received, the trial court granted the no-evidence motion for summary judgment and entered
a take nothing judgment. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Herring appeals the judgment of the trial court via three issues.  Herring alleges that
the trial court erred: 1) by refusing to find Haydon owed a duty to protect the decedent from
injury; 2) in finding that Haydon did not breach the duty to protect the decedent; and 3) in
finding the decedent did not suffer damages as a result of Haydon’s breach of duty.


 
Disagreeing with Herring, we affirm the trial court’s judgment.
Standard of Review  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because a no-evidence motion for summary judgment is, in essence, the same as
a pretrial directed verdict, we apply the same legal sufficiency standard.  See Kelly v.
Demoss Owners Ass’n, 71 S.W.3d 419, 423 (Tex.App.–Amarillo 2002, no pet.).  A no-evidence motion for summary judgment is properly granted unless the non-movant brings
forth more than a scintilla of evidence to raise a genuine issue of material fact on the
elements challenged by the motion.  See Tex. R. Civ. P. 166a(i); Ford Motor Co. v.
Ridgway, 135 S.W.3d 598, 600 (Tex. 2004).  We must view all of the summary judgment
evidence in the light most favorable to the non-movant.  See Roth v. FFP Operating
Partners, L.P., 994 S.W.2d 190, 195 (Tex.App.–Amarillo 1999, pet. denied).  More than
a scintilla of evidence exists when the evidence “rises to a level that would enable
reasonable and fair-minded people to differ in their conclusions.”  Burroughs Wellcome Co.
v. Crye, 907 S.W.2d 497, 499 (Tex. 1995).  On the other hand, less than a scintilla of
evidence has been described as evidence “so weak as to do no more than create a mere
surmise or suspicion.”  King Ranch, Inc. v. Chapman, 118 S.W.3d 742, 751 (Tex. 2003). 
When the summary judgment does not specify which of the various grounds pled that it
relied upon, then it will be affirmed if any of the grounds presented in the motion are
meritorious.  Kelly, 71 S.W.3d at 422.
Applicable Law
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The elements of a negligence claim are duty, breach of that duty, and damages
proximately caused by the breach of duty.  See Doe v. Boys Clubs of Greater Dallas, Inc.,
907 S.W.2d 472, 477 (Tex. 1995).  Since this is a negligence case involving an
employee/employer relationship, we must remember that the employer is not an insurer
of the employee’s safety.  See Leitch v. Hornsby, 935 S.W.2d 114, 117 (Tex. 1996). 
However, the employer does have the duty of using ordinary care in furnishing a safe place
to work.  Id.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Herring also sued appellant for negligent hiring, supervision, and retention.  The
elements of a negligent hiring, supervision, and retention claim may be generally stated as
1) the duty to hire, supervise, and retain competent employees; 2) the employer breaches
that duty; and 3) the employer’s breach of that duty proximately caused the damages sued
for. See LaBella v. Charlie Thomas, Inc., 942 S.W.2d 127, 137 (Tex.App.–Amarillo 1997,
writ denied).  An employer is liable for negligent hiring, supervision, or retention when proof
is presented that the employer hired an incompetent or unfit employee whom it knew or,
by the exercise of reasonable care, should have known was incompetent or unfit, thereby
creating an unreasonable risk of harm to others.  See Dangerfield v. Ormsby, 264 S.W.3d
904, 912 (Tex.App.–Fort Worth 2008, no pet. h.)
Analysis
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Haydon’s no-evidence motion for summary judgment alleges that Herring can
produce no evidence that:
1) any act or omission committed by Haydon was the proximate cause of the
decedent’s death;
2) the ladder from which the decedent fell was, in any manner, faulty;
3) a lack of lighting at the work site was the proximate cause of the
decedent’s fall;
4) the lack of emergency care immediately after the accident was a
proximate cause of the death of the decedent.
5) Haydon’s employees were incompetent or unfit or that, if the employees
were incompetent or unfit, Haydon hired those employees with the
knowledge that they were incompetent or unfit.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A review of the record presented to this court reveals that Herring has failed to
identify any evidence indicating that the ladder was, in any manner, defective.  Our review
of the evidence reveals that Herring offered no evidence that the ladder was defective. 
See Kelly, 71 S.W.3d at 422.    
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Regarding the issue of causation, we must remember that causation is made up of
two elements: cause in fact and foreseeability.  See Columbia Med. Ctr. of Las Colinas,
Inc. v. Hogue, 271 S.W.3d 238, 246 (Tex. 2008).  Cause in fact requires that the allegedly
negligent act or omission constitute a substantial factor in bringing about the injuries and,
without it, the injuries would not have occurred.  Id.  Forseeability requires that a person
of ordinary intelligence should have anticipated the danger created by a negligent act or
omission.  Doe, 907 S.W.2d at 478.  Proximate cause cannot be established by
speculation, conjecture, or mere guess work.  Columbia Med. Ctr., 271 S.W.3d at 246. 
Rather, a causal nexus must be established between conduct of the defendant and the
event and between the event and the injuries.  See Burroughs, 907 S.W.2d at 499.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The record reveals that there was no medical evidence presented to demonstrate
how the fall caused decedent’s death.  The cause of death is something that ordinarily
requires expert testimony.


  See Guevara v. Ferrer, 247 S.W.3d 662, 667 (Tex. 2007). 
Herring has attempted to bridge these causation issues with reference to summary
judgment evidence pointing out that the deceased was not in good health.  According to
Herring, the decedent suffered from a variety of blood pressure, heart, and circulatory
maladies.  However, this evidence fails to establish any causal connection between the
event and decedent’s injuries.  At best, it raises only conjecture and speculation and is,
therefore, insufficient to establish causation.  Columbia Med. Ctr., 271 S.W.3d at 246.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The same questions regarding causation are fatal to Herring’s claims regarding the
lack of emergency care for decedent.  All that is presented is the testimony of the
decedent’s wife that the decedent was brought to the home instead of a hospital.  The
evidence further reflects that the deceased died about one week later.  As to what
transpired in that week, we can only speculate.  This is not evidence of causation.  Id.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Finally, the only evidence that Herring has produced regarding the hiring,
supervision, and retention of any other employees of Haydon was that the employee who
was supervising the decedent at the time of the accident may have had a drinking problem
at some point in time.  There was no evidence that the supervising employee was
intoxicated or even drinking on the day in question.  Further, there is no evidence that any
action of the supervising employee caused the death of the decedent.  The only evidence
presented results in a need to conjure up connections or speculate about events that are
not supported in the record.  Id. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because there is no evidence regarding a defect in the ladder, further, because
there in no evidence regarding how the fall caused the death of decedent, nor is there any
causation evidence connecting the lack of emergency medical treatment and the injuries
and death of decedent, and there is no evidence regarding any negligent hiring,
supervision, or retention, we conclude that the trial court was correct in granting a summary
judgment against Herring.
Conclusion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court’s decision to grant summary judgment against Herring is affirmed.


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Mackey K. Hancock

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice



